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Teresa H. Dooley, Esq.

HILL RIVKINS LLP

45 Broadway, Suite 1500
New York, New York 10006
Attorneys For Defendants

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
ABBAS SHAH and ADAM BAUMAN,

 

Plaintiffs, ! Civil Action No.: 1:20-cv-01204-LGS
-against-

FLAT RATE MOVERS LTD., FLAT RATE ANSWER TO FIRST AMENDED
ELITE SERVICES, INC. and ELITE MOVING, COMPLAINT
LLC

Defendants.

 

Defendants Flat Rate Movers, Ltd., Flat Rate Elite Services, Inc., and Elite Moving, LLC
(collectively “Flat Rate’’), by and through their attorneys, Hill Rivkins LLP, hereby answer the
First Amended Complaint of Plaintiffs, Adam Bauman and Abbas Shah (collectively “Plaintiffs”,
upon information and belief, as follows:

NATURE OF THE CASE

1. Paragraph | of the First Amended Complaint does not assert factual allegations to
which a response is required. However, in the event the Court deems that a response is required,
Fiat Rate admit that Plaintiffs have withdrawn their first cause of action (breach of contract),
second cause of action (negligence) and third cause of action (violation of New York’s Unfair
Trade Practices Act) and have amended their complaint to assert a Carmack Amendment claim
and a civil RICO class action claim.

2. Flat Rate defer all questions of law to the Court. To the extent a response is required,

Flat Rate admit that Plaintiffs have brought this action against Flat Rate and that Plaintiff Abbas
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Shah engaged Defendant Elite Moving, LLC to transport certain personal property between New
York and New Jersey, but otherwise deny the allegations contained in Paragraph 2 of the First
Amended Complaint.

3. Flat Rate defer all questions of law to the Court. To the extent a response is required,
Flat Rate admit that Plaintiffs have brought this action against Flat Rate, but otherwise deny the
allegations contained in Paragraph 3 of the First Amended Complaint.

PARTIES

4, Flat Rate deny knowledge or information sufficient to form a belief as to the truth
of the allegations contained in Paragraph 4 of the First Amended Complaint.

5. Flat Rate defer all questions of law to the Court. To the extent a further response is
required, Flat Rate admit that Defendant Flat Rate Movers, Ltd. is a New York corporation with a
principal place of business in Bronx County, New York, but otherwise deny knowledge or
information sufficient to form a belief as to the truth of the allegations in Paragraph 5 of the First
Amended Complaint.

6. Flat Rate defer all questions of law to the Court. To the extent a further response is
required, Flat Rate admit that Defendant Flat Rate Elite Services, Inc. is a New York corporation
with a principal place of business in Bronx County, New York, but otherwise deny knowledge or
information sufficient to form a belief as to the truth of the allegations in Paragraph 6 of the First
Amended Complaint.

7. Flat Rate defer all questions of law to the Court. To the extent a further response is
required, Flat Rate admit that Defendant Elite Moving, LLC is a Delaware limited liability

company with a principal place of business in Bronx, New York, but otherwise deny knowledge
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or information sufficient to form a belief as to the truth of the allegations in Paragraph 7 of the
First Amended Complaint.
COUNT 1
THE CARMACK AMENDMENT CLAIM / 49 U.S.C. §14706

Plaintiffs’ high value items and purchase of FlatRate’s “Elite” moving services —
THE MOVE OUT FROM APARTMENT TO FLATRATE STORAGE

8. Flat Rate defer all questions of law to the Court. To the extent a further response is
required, the website speaks for itself, and therefore Flat Rate deny any characterization of it by
Plaintiffs. Flat Rate otherwise deny knowledge or information sufficient to form a belief as to the
truth of the allegations contained in Paragraph 8 of the First Amended Complaint.

9. Flat Rate admit that in or about September 2018, Plaintiff Abbas Shah requested
that certain personal property be transported from New York, NY to a storage facility located at
99 Evergreen Ave, Newark, NJ 07114, but otherwise deny knowledge or information sufficient to
form a belief as to the truth of the allegations contained in Paragraph 9 of the First Amended
Complaint.

10. _—‘ Flat Rate admit that on or about September 21, 2018, Laurence Yates for Defendant
Elite Moving, LLC conducted an on-site inspection at 205 East 92™ Street, Apt. No. 37A, New
York, NY 10128 to prepare an estimate for the cost to transport certain personal property for
Plaintiff Abbas Shah, but otherwise deny knowledge or information sufficient to form a belief as
to the truth of the allegations contained in Paragraph 10 of the First Amended Complaint.

11. Flat Rate defer all questions of law to the Court. To the extent a further response is
required, Flat Rate admit that the reference number assigned for the move of certain personal

property for Plaintiff Abbas Shah, scheduled for September 29, 2018, was 957702, but otherwise
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deny knowledge or information sufficient to form a belief as to the truth of the allegations
contained in Paragraph 11 of the First Amended Complaint.

12.‘ Flat Rate defer all questions of law to the Court. To the extent a further response is
required, Flat Rate deny the allegations in Paragraph 12 of the First Amended Complaint.

13, Flat Rate admit that on September 29, 2018, Elite Moving arrived at 205 East 92"4
Street, Apt. No. 37A, New York, NY 10128 to transport certain personal property for Plaintiff
Abbas Shah, but otherwise deny knowledge or information sufficient to form a belief as to the
truth of the allegations contained in Paragraph 13 of the First Amended Complaint.

14, Flat Rate admit that on or about September 29, 2018, Defendant Elite Moving, LLC
accepted and then transported certain personal property from 205 East 92™ Street, Apt. No. 37A,
New York, NY 10128 to a storage facility located at 99 Evergreen Ave, Newark, NJ 07114 for
Plaintiff Abbas Shah, but otherwise deny knowledge or information sufficient to form a belief as
to the truth of the allegations contained in Paragraph 14 of the First Amended Complaint.

15. Flat Rate defer all questions of law to the Court. To the extent a further response is
required, Flat Rate admit payment was made by or on behalf of Plaintiff Abbas Shah in the amount
of $4,780 for the services provided for or on his behalf, but otherwise deny knowledge or
information sufficient to form a belief as to the truth of the allegations contained in Paragraph 15
of the First Amended Complaint.

16. Flat Rate deny knowledge or information sufficient to form a belief as to the truth
of the allegations contained in Paragraph 16 of the First Amended Complaint.

Plaintiffs high value_items and purchase of FlatRate’s “Elite” moving services —
THE MOVE IN FROM FLATRATE STORAGE TO NEW APARTMENT

17, Flat Rate admit that certain personal property remained at 99 Evergreen Ave,

Newark, NJ 07114 from on or about September 29, 2018 to on or about July 5, 2019, but otherwise
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deny knowledge or information sufficient to form a belief as to the truth of the allegations
contained in Paragraph 17 of the First Amended Complaint.

18. ‘Flat Rate admit that Defendant Elite Moving, LLC was contacted to transport
certain personal property from the storage facility located at 99 Evergreen Ave, Newark, NJ 07114
to 165 Charles Street, Apt. No. 20, New York NY 10014, but otherwise deny knowledge or
information sufficient to form a belief as to the truth of the allegations contained in Paragraph 18
of the First Amended Complaint.

19. Exhibit 1 is a document that speaks for itself, and therefore Flat Rate deny any
characterization of it by Plaintiffs. Flat Rate otherwise deny knowledge or information sufficient
to form a belief as to the truth of the allegations contained in Paragraph 19 of the First Amended
Complaint.

20. Flat Rate defer all questions of law to the Court. To the extent a further response is
required, Flat Rate deny knowledge or information sufficient to form a belief as to the truth of the
allegations contained in Paragraph 20 of the First Amended Complaint.

21. Flat Rate deny knowledge or information sufficient to form a belief as to the truth
of the allegations contained in Paragraph 21 of the First Amended Complaint.

22. Flat Rate deny knowledge or information sufficient to form a belief as to the truth
of the allegations contained in Paragraph 22 of the First Amended Complaint.

23. Flat Rate deny knowledge or information sufficient to form a belief as to the truth
of the allegations contained in Paragraph 23 of the First Amended Complaint.

24. Exhibit 2 is a document that speaks for itself, and therefore Flat Rate deny any

characterization of it by Plaintiffs. Flat Rate otherwise deny knowledge or information sufficient
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to form a belief as to the truth of the allegations contained in Paragraph 24 of the First Amended
Complaint.

25. Flat Rate deny knowledge or information sufficient to form a belief as to the truth
of the allegations contained in Paragraph 25 of the First Amended Complaint.

26. Flat Rate deny knowledge or information sufficient to form a belief as to the truth
of the allegations contained in Paragraph 26 of the First Amended Complaint.

27. Exhibit 3 is a document that speaks for itself, and therefore Flat Rate deny any
characterization of it by Plaintiffs. Flat Rate otherwise deny knowledge or information sufficient
to form a belief as to the truth of the allegations contained in Paragraph 27 of the First Amended
Complaint.

28. Exhibit 4 is a document that speaks for itself, and therefore Flat Rate deny any
characterization of it by Plaintiffs. Flat Rate otherwise deny knowledge or information sufficient
to form a belief as to the truth of the allegations contained in Paragraph 28 of the First Amended
Complaint.

29. Flat Rate admit that on July 5, 2019, Defendant Elite Moving, LLC arrived at 165
Charles Street, Apt. No. 20, New York NY 10014 to deliver certain personal property, but
otherwise deny knowledge or information sufficient to form a belief as to the truth of the
allegations contained in Paragraph 29 of the First Amended Complaint.

30. Flat Rate deny knowledge or information sufficient to form a belief as to the truth
of the allegations contained in Paragraph 30 of the First Amended Complaint.

31. Exhibit 5 is a document that speaks for itself, and therefore Flat Rate deny any

characterization of it by Plaintiffs. Flat Rate otherwise deny knowledge or information sufficient
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to form a belief as to the truth of the allegations contained in Paragraph 31 of the First Amended
Complaint.

32. Flat Rate deny knowledge or information sufficient to form a belief as to the truth
of the allegations contained in Paragraph 32 of the First Amended Complaint.

33. Flat Rate deny knowledge or information sufficient to form a belief as to the truth
of the allegations contained in Paragraph 33 of the First Amended Complaint.

34, Exhibit 6 is a document that speaks for itself, and therefore Flat Rate deny any
characterization of it by Plaintiffs, Flat Rate otherwise deny knowledge or information sufficient
to form a belief as to the truth of the allegations contained in Paragraph 34 of the First Amended
Complaint.

35. Exhibit 7 is a document that speaks for itself, and therefore Flat Rate deny any
characterization of it by Plaintiffs. Flat Rate otherwise deny knowledge or information sufficient
to form a belief as to the truth of the allegations contained in Paragraph 35 of the First Amended
Complaint.

36. Exhibit 8 is a document that speaks for itself, and therefore Flat Rate deny any
characterization of it by Plaintiffs. Flat Rate otherwise deny knowledge or information sufficient
to form a belief as to the truth of the allegations contained in Paragraph 36 of the First Amended
Complaint.

37. Flat Rate deny the allegations contained in Paragraph 37 of the First Amended
Complaint.

38. Flat Rate deny the allegations contained in Paragraph 38 of the First Amended

Complaint.
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39. Exhibit 9 is a document that speak for itself, and therefore Flat Rate deny any
characterization of it by Plaintiffs. Flat Rate otherwise deny knowledge or information sufficient
to form a belief as to the truth of the allegations contained in Paragraph 39 of the First Amended
Complaint.

40. Flat Rate deny knowledge or information sufficient to form a belief as to the truth
of the allegations contained in Paragraph 40 of the First Amended Complaint.

41. Flat Rate admit that a check was presented for $1,000 to Plaintiff Abbas Shah as a
full and final settlement of the disputed claim # 958880, but otherwise deny knowledge or
information sufficient to form a belief as to the truth of the allegations contained in Paragraph 41
of the First Amended Complaint.

42. Flat Rate deny the allegations contained in Paragraph 42 of the First Amended
Complaint.

43, Flat Rate deny knowledge or information sufficient to form a belief as to the truth
of the allegations contained in Paragraph 43 of the First Amended Complaint.

WHEREFORE, Defendants Flat Rate, demand judgment dismissing the First Amended
Complaint, together with costs, disbursements, legal fees and such other and further relief as this
Court deems just and proper.

CIVIL RICO CAUSE OF ACTION
CLASS ACTION COMPLAINT

CLASS ACTION ALLEGATIONS

44. Flat Rate defer all questions of law to the Court. To the extent a further response is
required, Flat Rate deny the allegations contained in Paragraph 44 of the First Amended

Complaint.
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45. Flat Rate defer all questions of law to the Court. To the extent a further response is
required, Flat Rate deny knowledge or information sufficient to form a belief as to the truth of the
allegations contained in Paragraph 45 of the First Amended Complaint.

46. Flat Rate defer all questions of law to the Court. To the extent a further response is
required, Flat Rate deny the allegations or characterizations contained in Paragraph 46 of the First
Amended Complaint.

47, Flat Rate defer all questions of law to the Court. To the extent a further response is
required, Flat Rate deny the allegations contained in Paragraph 47 of the First Amended
Complaint.

48. Flat Rate defer all questions of law to the Court. To the extent a further response is
required, Flat Rate deny the allegations contained in Paragraph 48 of the First Amended
Complaint.

49. Flat Rate defer all questions of law to the Court. To the extent a further response is
required, Flat Rate deny the allegations contained in Paragraph 49 of the First Amended
Complaint.

LEGAL BASIS FOR RELIEF — CIVIL RICO CLASS ACTION

(Defendants Flat Rate Movers, Elite Services, and Elite Moving: Civil RICO, 18
U.S.C. Sec. 1962(c), 1964 et al.)

50. Flat Rate repeat and re-allege each and every response to the allegations contained
in Paragraphs 1] through 49 of the First Amended Complaint as if set forth at length herein.

51. Flat Rate defer all questions of law to the Court. To the extent a further response is
required, Flat Rate deny knowledge or information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 51 of the First Amended Complaint.
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52. Flat Rate deny the allegations contained in Paragraph 52 of the First Amended
Complaint.

53. Flat Rate deny the allegations contained in Paragraph 53 of the First Amended
Complaint.

54. Flat Rate deny the allegations contained in Paragraph 54 of the First Amended
Complaint.

55. Flat Rate deny the allegations contained in Paragraph 55 of the First Amended
Complaint.

56. Exhibit A is a document that speaks for itself, and therefore Flat Rate deny any
characterization of it by Plaintiffs. Flat Rate otherwise deny the allegations contained in Paragraph
56 of the First Amended Complaint.

57, Exhibit B ts a document that speaks for itself, and therefore Flat Rate deny any
characterization of it by Plaintiffs. Flat Rate otherwise deny the allegations contained in Paragraph
57 of the First Amended Complaint.

58. Flat Rate deny the allegations contained in Paragraph 58 of the First Amended
Complaint.

59. Flat Rate defer all questions of law to the Court, but otherwise deny knowledge or
information sufficient to form a belief as to the truth of the allegations contained in Paragraph 59
of the First Amended Complaint.

WHEREFORE, Defendants Flat Rate, demand judgment dismissing the First Amended
Complaint, together with costs, disbursements, legal fees and such other and further relief as this

Court deems just and proper.

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AFFIRMATIVE DEFENSES
Subject to the foregoing denials of liability for the loss and damage alleged by Plaintiffs,
and without assuming any burdens of proof, persuasion, or production not otherwise legally
assigned to Flat Rate as to any element of Plaintiffs’ claims, Flat Rate assert the following
affirmative and other defenses:
AS AND FOR A FIRST AFFIRMATIVE DEFENSE
60. ‘Plaintiffs have failed to state a cause of action against Flat Rate upon which relief

can be granted.

AS AND FOR A SECOND AFFIRMATIVE DEFENSE
61, Plaintifis are barred from claiming or recovering any relief set forth in the First
Amended Complaint to the extent that Plaintiffs failed to mitigate, minimize or avoid any damages
it allegedly suffered. The failure to mitigate is a bar and/or limitation in whole or in part to
Plaintiffs’ claim, such that the total amount of damages to which plaintiffs are entitled must be
barred or reduced.
AS AND FOR A THIRD AFFIRMATIVE DEFENSE
62. Plaintiffs’ claims are barred, in whole or in part, or limited by the terms and
conditions of service agreed upon by the parties and/or the shipping and/or storage documents
issued in connection with the goods in question, including but not limited to, any and all bills of
lading, letters of instruction, contracts, move plans, warehouse receipts, manifests, delivery orders,
tariffs, and invoices.
AS AND FOR A FOURTH AFFIRMATIVE DEFENSE
63. Any loss or damage allegedly suffered by Plaintiffs, which is specifically denied,

was, in whole or in part, caused or exacerbated by the negligence, culpable conduct and/or fault of

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Plaintiffs and/or other parties, and therefore, Plaintiffs’ claim against Flat Rate is barred or
diminished or reduced in the proportion to Plaintiffs’ and/or other parties’ negligence, culpable
conduct and/or fault.
AS AND FOR A FIFTH AFFIRMATIVE DEFENSE
64. Flat Rate performed their contractual obligations, if any, and/or performed their
work, if any, in accordance with the agreed upon specifications and/or instructions of Plaintiffs,
and exercised reasonable care at all times during the performance of their obligations and/or work.
AS AND FOR A SIXTH AFFIRMATIVE DEFENSE
65. Plaintiffs claim damage to goods that Flat Rate did not have an opportunity to
inspect and/or goods that were not listed on shipping and/or storage documents.
AS AND FOR A SEVENTH AFFIRMATIVE DEFENSE
66. Plaintiffs have failed to present a claim and/or suit within the appropriate time
limitations required by the applicable contract(s), warehouse receipts, bills of lading, tariffs, and
classifications and the rules set forth therein and/or applicable statute or regulation.
AS AND FOR AN EIGHTH AFFIRMATIVE DEFENSE
67. Plaintiffs’ claims are limited pursuant to the “Your Move Plan”, and bills of lading,
which limit Flat Rate’s liability to 60 cents per pound per loss/damaged article.
AS AND FOR A NINTH AFFIRMATIVE DEFENSE
68. Inthe event the Court determines any of the loss or damage as alleged by Plaintiffs
actually occurred, such loss or damage was not caused by any act, error or omission on the part of

Flat Rate or their agents,

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AS AND FOR A TENTH AFFIRMATIVE DEFENSE
69. | Whatever goods that were received by Flat Rate were accepted in accordance with
and subject to, inter alia, all the terms and conditions of Flat Rate’s contracts, warehouse receipts,
bills of lading, move plans, tariffs and classifications, and the rules set forth therein. Flat Rate duly
performed the terms and conditions on their part to be performed, if any. Flat Rate claim the
benefit of atl defenses accorded to them by those documents and by all other applicable contracts
under which the goods were accepted.
AS AND FOR AN ELEVENTH AFFIRMATIVE DEFENSE
70. To the extent that the Carmack Amendment to the Interstate Commerce Act / ICC
Termination Act, 49 U.S.C. §14706, preempt any state-law or federal common-law claim for the
cargo loss or damage asserted by Plaintiffs, those claim(s) must be dismissed.
AS AND FOR A TWELFTH AFFIRMATIVE DEFENSE
71. Plaintiffs were aware of all decisions and assumed all risks associated with each
decision alleged in the First Amended Complaint.
AS AND FOR A THIRTEENTH AFFIRMATIVE DEFENSE
72. To the extent Flat Rate performed any of the acts set forth in the First Amended
Complaint, all such acts/conduct were authorized by and/or requested by Plaintiffs.
AS AND FOR A FOURTEENTH AFFIRMATIVE DEFENSE
73. Plaintiffs’ claims are limited pursuant to the bills of lading, which provide that:
.. .the mover's liability for loss of or damage to any article valued in excess
of $100 per pound will be limited to $100 per pound for each pound of such
lost or damaged article(s} (based on actual article weight), not to exceed the
declared value of the entire shipment, unless I have specifically identified

such articles for which a claim for loss or damage may be made on the
attached inventory.

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AS AND FOR A FIFTEENTH AFFIRMATIVE DEFENSE
74, This Court is the improper venue for this dispute.
AS AND FOR A SIXTEENTH AFFIRMATIVE DEFENSE
75. To the extent applicable, Flat Rate is entitled to all rights, defenses, limitations of
liability, and immunities contained in any applicable convention, statute, regulation, or law,
whether foreign or domestic, that may apply to the claims asserted in the First Amended
Complaint, including but not limited to the Carmack Amendment to the Interstate Commerce Act
/ICC Termination Act, 49 U.S.C. §14706.
AS AND FOR A SEVENTEENTH AFFIRMATIVE DEFENSE
76. Plaintiffs’ claims are barred, in whole or in part, by the doctrines of laches, waiver
and estoppel.
AS AND FOR A EIGHTEENTH AFFIRMATIVE DEFENSE
77. The loss or damage alleged in the First Amended Complaint, if any, was caused by
other persons or entities, whether or not a party, over whom Flat Rate had no control and for whose
acts or omissions Flat Rate are not responsible or liable.
AS AND FOR A NINETEENTH AFFIRMATIVE DEFENSE
Plaintiffs’ claim is barred by reason of their own negligent, willful conduct, culpable
conduct, acquiescence, recklessness, misrepresentation, consent, approval and ratification.
AS AND FOR A TWENTIETH AFFIRMATIVE DEFENSE
78. The loss or damage alleged in the First Amended Complaint, if any, resulted from
a cause arising without the fault and privity of Flat Rate and without the fault or neglect of their

agents or servants.

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AS AND FOR A TWENTY-FIRST AFFIRMATIVE DEFENSE
79. The loss or damage alleged in the First Amended Complaint, if any, was directly
and proximately caused by intervening and superseding causes for which Flat Rate are not
responsible or liable.
AS AND FOR A TWENTY-SECOND AFFIRMATIVE DEFENSE
80. The loss or damage alleged in the First Amended Complaint, if any, was caused by
an act or default of the shipper and/or the inherent vice or defective nature of the goods in question.
AS AND FOR A TWENTY-THIRD AFFIRMATIVE DEFENSE
81. To the extent Plaintiffs seek the recovery of special or consequential damages, they
are not recoverable under the terms and conditions of service agreed upon by the parties and/or the
shipping and/or storage documents issued in connection with the goods in question, and/or under
the controlling applicable law.
AS AND FOR A TWENTY-FOURTH AFFIRMATIVE DEFENSE
82. To the extent Flat Rate performed the services alleged in the First Amended
Complaint, Flat Rate exercised reasonable care at all times in connection with the goods alleged
in the First Amended Complaint. Flat Rate are not responsible for any loss or damage caused by
any cause or event which could not be avoided and the consequence which could not be prevented
by the exercise of reasonable diligence.
AS AND FOR A TWENTY-FIFTH AFFIRMATIVE DEFENSE
83. In the event that Plaintiffs have no, or had no, title to or interest in the goods that
are the subject of this action, then Plaintiffs are not the real party in interest herein and are not

entitled to maintain this suit.

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AS AND FOR A TWENTY-SIXTH AFFIRMATIVE DEFENSE

84. No act or omission by Flat Rate caused the loss or damage alleged by Plaintiffs,

which were otherwise not foreseeable.
AS AND FOR A TWENTY-SEVENTH AFFIRMATIVE DEFENSE

85. The loss or damage alleged in the First Amended Complaint, if any, was caused by
a pre-existing condition and/or other conditions beyond the control of Flat Rate and for which Flat
Rate are not responsible or liable.

AS AND FOR A TWENTY-EIGHTH AFFIRMATIVE DEFENSE

86. Plaintiffs cannot satisfy the required elements of New York’s Unfair Trade

Practices Act.

AS AND FOR A TWENTY-NINTH AFFIRMATIVE DEFENSE

87. Plaintiffs’ claims are barred, in whole or in part, by the doctrines of accord and

satisfaction.
AS AND FOR A THIRTIETH AFFIRMATIVE DEFENSE

88. The class action allegations in the First Amended Complaint are barred because it

fails to state facts sufficient to define an ascertainable class with a community of interest.
AS AND FOR A THIRTY-FIRST AFFIRMATIVE DEFENSE

The class action allegations in the First Amended Complaint are barred because any

questions of law or fact are not common to the purported putative class.
AS AND FOR A THIRTY-SECOND AFFIRMATIVE DEFENSE
89. The class action allegations the First Amended Complaint are barred because facts

unique to each class member predominate over facts common to the class.

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AS AND FOR A THIRTY-THIRD AFFIRMATIVE DEFENSE
90. The class action allegations in the First Amended Complaint are barred because
Plaintiffs cannot fairly and adequately protect the interests of the purported putative class.
AS AND FOR A THIRTY-FOURTH AFFIRMATIVE DEFENSE
91. The class action allegations in the First Amended Complaint are barred because
there are not sufficiently numerous individuals within the definition of the class to constitute a
proper class action.
AS AND FOR A THIRTY-FIFTH AFFIRMATIVE DEFENSE
92. | The class action allegations in the First Amended Complaint are barred because
representative Plaintiffs’ claims are not typical of claims by the entire purported class, and
therefore are subject to unique defenses by Flat Rate.
AS AND FOR A THIRTY-SIXTH AFFIRMATIVE DEFENSE
93. The class action allegations in the First Amended Complaint is barred because a
class action is not superior to other available methods for the fair and efficient adjudication of the
purported controversy.
AS AND FOR A THIRTY-SEVENTH AFFIRMATIVE DEFENSE
94. The RICO claim is barred because the allegations in the First Amended Complaint
fail to plead fraud with particularity.
AS AND FOR A THIRTY-EIGHTH AFFIRMATIVE DEFENSE
95. The RICO claim is barred because the First Amended Complaint fails to plead a

scheme to defraud with particularity.

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AS AND FOR A THIRTY-NINTH AFFIRMATIVE DEFENSE

96. The RICO claim is barred because the allegations in the First Amended Complaint

fail to plead a continuous pattern of criminal activity with particularity.
AS AND FOR A FORTIETH AFFIRMATIVE DEFENSE

97. The RICO claim is barred because the allegations in the First Amended Complaint

fails to plead sufficient facts to distinguish Plaintiffs’ claim from that of a commercial dispute.
AS AND FOR A FORTY-FIRST AFFIRMATIVE DEFENSE

98. Flat Rate reserve the right to supplement the foregoing and raise additional defenses
as may appear during the progress of this case to the fullest extent allowed under the controlling
applicable law

WHEREFORE, Defendants Flat Rate, demand judgment dismissing the First Amended
Complaint, together with costs, disbursements, legal fees and such other and further relief as this
Court deems just and proper.
Dated: February 19, 2020

New York, New York

HILL RIVKINS LLP
Attorneys for Defendants

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Teresa H. Dooley SJ
45 Broadway, Suite 1500
New York, NY 10006
(212) 669-0600

TO: Adam Bauman
Abbas Shah
165 Charles Street
Unit #20
New York, NY 10014

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AFFIDAVIT OF SERVICE

STATE OF NEW YORK

COUNTY OF NEW YORK

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I, Kimberley Crossen, being duly sworn, states as follows: I am over 18 years of age, not a party

to the within action, and reside at 186-10 Nashville Boulevard, Springfield Gardens, New York

11413. On February 19, 2020, I served the within Answer to First Amended Complaint upon

the person(s) or parties designated below by mailing a true and complete copy of same in a

postage pre-paid envelope, and depositing same in a post office or official depository of the

United States Postal Service within New York State, at the last known address of the

addressee(s) as set forth herein.

TO: Adam Bauman
Abbas Shah
165 Charles Street
Unit #20
New York, NY 10014

Sworn to before me this

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Mi tary Public

 

JAMES A. SAVILLE, JR.
NOTARY PUBLIC-STATE OF NEW YORK
No. 02SA6368714
Qualified in Nassau County
My Commission Expires 12-18-2021

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Kimberley Crossen
